                 DECLARATION OF BARTHOLOMEW R. WILLIAMS


1. My name is Bartholomew R. Williams, I am over the age of 18. All facts stated
   herein are true and based on my personal knowledge;

2. I am a resident of Milwaukee, Wisconsin.

3. I was an independent observer at the Central Count facility for Milwaukee, Wisconsin
   in the November 3, 2020 election;

4. I arrived at the Milwaukee Central Counting facility at 6 am on Tuesday, November
   3, 2020, but was not allowed on the counting floor until 7:30 am. By that time
   counting had been going on for at least 30 minute;

5. I did not enter or attempt to enter restricted places at Central Count. I did not interfere
   with the process of ballot processing, nor mark or alter any official record;

6. Claire Woodall-Vogg, Brenda Wood and several supervisors (who did not have name
   badges) refused to allow me to remain in an unobtrusive area of the ballot
   processing/counting area from which I could reasonably see and hear what was
   occurring for the vast majority of the tables being used for counting/processing.

7. Many of the ballot counters were seated so that the observation areas and distances
   from their seating did not permit me to see the ballots, in some cases at all, but in
   many, to the extent that I could see any violations of the ballot voting requirements if
   they existed;

8.    I began to create a log of ballots that were visible to me that were subject to
     challenge, but after 5 entries, I was told that I could not do that by Brenda Wood as it
     was slowing down the voting. I asked that the names of voters and ballot numbers be
     called out since I was too far away to read the ballots and that was refused;

9. It was acknowledged to me by Brenda Wood and another supervisor that the election
   staff had made changes to many of the ballots where a pre-printed 10 day residency
   statement was crossed out in red ink and changed to 28 days;

10. Claire Woodall-Vogg announced on a loud speaker that challenges concerning the 10
    day / 28 day ballot markup would not be allowed;

11. She made a separate announcement that ballot counters who happened on a ballot
    without a witness address could go to a computer, look the address up and insert it on



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   the ballot, but there was no mention of any procedure to verify the address;

12. My estimate is that roughly 20% of the ballots had changes marked to the 10/28 day
    residency statement.



   I affirm under the penalties of perjury the foregoing statements are true and correct
   (28 U.S.C. Sec. 1746)


   Dated December 10, 2020                   ____________________________
                                             Bartholomew R. Williams




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